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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOSE JUAN MAYSONET, JR.,                              )
                                                      )       Case No. 18 CV 02342
                               Plaintiff,             )
                                                      )       Hon. Judge Mary M. Rowland
                                                      )
               vs.                                    )
                                                      )
                                                      )
                                                      )
REYNALDO GUEVARA, ERNEST                              )
HALVORSEN, EDWARD MINGEY,                             )
EPPLEN, FERNANDO MONTILLA, ROLAND                     )       JURY DEMAND
PAULNITSKY, FRANK DIFRANCO, CITY OF                   )
CHICAGO, and COOK COUNTY,                             )
                                                      )
                               Defendants.            )

      DEFENDANTS HALVORSEN, MINGEY, MONTILLA AND PAULNITSKY’S
              MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendants JoAnn Halvorsen as Special Representative of Ernest Halvorsen (deceased),

Mingey, Montilla and Paulnitsky (“Movants”), by their attorneys, The Sotos Law Firm, P.C.,

submit under Federal Rule of Civil Procedure 56 and Local Rule 56.1 this motion for partial

summary judgment and state:

       1.      This lawsuit arises from Maysonet’s arrest, prosecution, and conviction for the

May 25, 1990, murder of Torrence and Kevin Wiley that occurred near 3428 West North Avenue

in Chicago.

       2.      Maysonet alleges that Movants coerced his confession (Count I), fabricated

evidence (Count II), and withheld evidence (Count III) in violation of his fair trial rights. He also

asserts malicious prosecution claims under the Fourth Amendment and state law (Counts IV and

VIII), failure to intervene claim (Count V), federal and state civil conspiracy claims (Counts V
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and IX), and a state intentional infliction of emotional distress claim (Count X).

       3.      Maysonet has been unable to develop admissible evidence that creates a dispute

of fact to support any of his claims against Movants except his claim that Movant Montilla

coerced and fabricated his confession under Count I and II, and any derivative claims thereto.

       4.      Accordingly, Movants Halvorsen, Mingey and Paulnitsky seek summary

judgment on all of Maysonet’s claims.

       5.      Movant Montilla moves for partial summary judgment on all of Maysonet’s

claims except for Maysonet’s coerced confession claim (Count I), fabricated confession claim

(Count II) and the derivative claims of failure to intervene (Count IV) and intentional infliction

of emotional distress (Count X).

       6.      In support of this motion, Movants rely on their Memorandum of Law in Support

of Partial Summary Judgment and Rule 56.1 Statement of Material Facts.

       WHEREFORE, Movants respectfully request the Court to enter an order granting them

partial summary judgment and for further relief as the Court deems appropriate.

Dated: July 15, 2024                          Respectfully submitted,

                                              /s/ Josh M. Engquist
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                                  CERTIFICATE OF SERVICE

        I, Josh M. Engquist, certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that
the foregoing is true and correct, that on Monday, July 15, 2024, I electronically filed the
foregoing Defendants Mingey, Montilla and Paulnitsky’s Motion for Partial Summary
Judgment with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to the attorneys of record on the below Service List.

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